Case 2:20-cr-00008-JRG-RSP Document 1 Filed 09/14/20 Page 1 of 4 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

UNITED STATES OF AMERICA                         §
                                                 §          NO. 2:20-CR-
v.                                               §          Judges JRG/RSP
                                                 §
TONY GOSS                                        §

                                    INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                        Count One

                                                     Violation: 21 U.S.C. § 841(a)(1)
                                                     (Possession with the Intent to Distribute
                                                     Anabolic Steroids)

       On or about August 22, 2019, in the Eastern District of Texas, the defendant,

Tony Goss, did intentionally and unlawfully possess, with intent to distribute, anabolic

steroids, a Schedule III controlled substance,

       In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(E)(i).




Information – Page 1
Case 2:20-cr-00008-JRG-RSP Document 1 Filed 09/14/20 Page 2 of 4 PageID #: 2




             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

       As the result of committing the foregoing offense alleged in this information, the

defendant herein shall forfeit to the United States, pursuant to 21 U.S.C. § 853 and 28

U.S.C. § 2461:

        1.       any property constituting, or derived from, and proceeds the defendant
                 obtained, directly or indirectly, as the result of such violation; and

        2.       any of the defendant’s property used, or intended to be used, in any
                 manner or part, to commit, or to facilitate the commission of, such
                 violation.

Firearms:

       Any and all firearms, ammunition and accessories, including, but not limited to,
       the following:

       (1)    Star, .45 caliber handgun serial #2055469
       (2)    Smith & Wesson 9mm handgun serial #RAT5991
       (3)    Marlin .45/70 caliber rifle serial #14056023
       (4)    Kel-Tec .380 caliber handgun serial #H5R71
       (5)    Mossberg .270 caliber rifle serial #BA202181
       (6)    Anderson Manufacturing, AM15, multi-caliber rifle, serial #18113232
       (7)    Glock 9mm handgun serial #UNE710

Motor Vehicle:

       2016 Ford F-350 bearing VIN 1FT8W3DT4GEA32955

Cash Proceeds:

       A sum of money equal to $778,200.25 in United States currency and all interest
       and proceeds traceable thereto, representing the amount of proceeds obtained by
       the defendant as the result of the offense alleged in Count 1 of the information, for
       which the defendant is personally liable.

       By virtue of the commission of the offense alleged in this information, any and all

interest the defendant has in the above-described property is vested in the United States


Information – Page 2
Case 2:20-cr-00008-JRG-RSP Document 1 Filed 09/14/20 Page 3 of 4 PageID #: 3




and hereby forfeited to the United States pursuant to 21 U.S.C. § 853 and 28 U.S.C.

§ 2461.



                                            STEPHEN J. COX
                                            UNITED STATES ATTORNEY


                                            /s/ Jim Noble
                                            JIM NOBLE
                                            Assistant United States Attorney
                                            Texas Bar Number 15050100
                                            110 N. College Avenue, Suite 700
                                            Tyler, Texas 75702
                                            (903) 590-1442
                                            James.Noble@usdoj.gov




Information – Page 3
Case 2:20-cr-00008-JRG-RSP Document 1 Filed 09/14/20 Page 4 of 4 PageID #: 4




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

UNITED STATES OF AMERICA               §
                                       §         NO. 2:20-CR-
v.                                     §         Judges JRG/RSP
                                       §
TONY GOSS                              §

                            NOTICE OF PENALTY


                                 Count One

      Violation:             21 U.S.C. § 841(a)(1) and (b)(1)(E)(i)

      Penalty:               Not more than 10 years’ imprisonment, a fine not to
                             exceed $250,000, or both, and a term of supervised
                             release not to exceed 3 years.

      Special Assessment:    $100.00




Information – Page 4
